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                                                                                  FILED
                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS                       20)2   JUN 20        P11   12:25
                              SAN ANTONIO DIVISION
                                                                                   U   S.   WSTRICT COURT
                                                                         WESTERH DISTRICT

UNITED STATES OF AMERICA,                           CRIMINAL NO. SA-1CR

                     Plaintiff,                     FIRST SUPERSEDING INDICTMENT

 V.                                                 (Violations: 18 U.S.C. § 922(g)(9),
                                                    Possession of a Firearm by a Prohibited
JIMMY TORRES aka                                    Person - Count 1;
    JIMMY TORRES-HOYOS, (1),                        18 U.S.C. § 922(g)(5)(A), Possession of
EDU_RDO RODRIGUEZ, (2),                                                            -
                                                    a Firearm by an Illegal Alien Count 2;
                                                    18 U.S.C. § 924(a)(1)(A) & 2, False
EDDIE RAMOS, (4),                                   Statement During the Purchase of a
                                                    Firearm & Aiding and Abetting -
                                                    Counts 3-33.)




RAMON ERNESTO ARMIJO, (11),
MATHEW ARTEAGA, (12),
DESTINY DELAFUENTE, (13),

ROBERT ALCARAZ, (15),
LISA CAMPOS, (16),




                     Defendants.


THE GRAND JURY CHARGES:

                                         COUNT ONE
                                     (18 U.S.C. § 922(g)(9)J

       That on or about the 21    day of December, 2011, within the Western District of Texas,

the Defendant,
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                      JIMMY TORRES aka JIMMY TORRES-HQYOS, (1),

who had been convicted of a misdemeanor crime of domestic violence, to wit: on November 25,

2008, the Defendant was convicted of Assault Bodily Injury     - Married, Cause Number 266647,
County Court at Law No. 7, Bexar County, Texas, did knowingly possess in and affecting

interstate commerce a firearm, namely, a Romarm/Cugir, WASR. 10, 7.62 x 39 Rifle, bearing

serial number 1-93502-11, said firearm having been shipped and transported in interstate

commerce, in violation of Title 18, United States Code, Section 922(g)(9).

                                           COUNT TWQ
                                      [18 U.S.C. § 922(g)(5)(A)1

       That on or about the
                              215t
                                     day of December, 2011, within the Western District of Texas,

the Defendant,

                       JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),

then being an alien illegally and unlawli.illy in the United States, did knowingly possess
                                                                                           in arid


affecting interstate commerce a firearm, namely, a Romarm/Cugir, WASR 10, 7.62
                                                                               x 39 Rifle,

                                                                                   in interstate
bearing serial number 1-93502-11, said firearm having been shipped and transported

commerce, in violation of Title 18, United States Code, Section 922(g)(5).


                                         COUNT THREE
                                  118 U.S.C. § 924(a)(1)(A) and 2J

        That on or about the 2l      day of December, 2011, within the Western District of Texas,

 the Defendants,

                       JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),
                                                       AND

                                       EDLJARDO RODRIGUEZ, (2),




                                                   7
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each aiding and abetting the other, knowingly made a false statement and representation to 3. 0.,

a person licensed under the provisions of Chapter 44 of Title 18, United States Code, with

respect to information required by the provisions of Chapter 44 of Title 18, United States Code,

to be kept in the records of Action Pawn #11, in that Defendant EDUARDO RODRIGUEZ did

execute a United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms Form

4473, Firearms Transaction Record, to the effect that he was the actual purchaser of a firearm,

whereas in truth and in fact, he was not, in violation of Title 18, United States Code, Sections

924(a)(1)(A) and 2.

                                         COUNT FOUR
                                 118 U.S.C. § 924(a)(1)(A) and 2J

       That on or about the 30tI day of December, 2011, within the Western District ofTexas,

the Defendants,

                   JiMMY TORRES aka JIMMY TORRES.HOYOS, (1),
                                                 AND

                                 EDUARDO RODRIGUEZ, (2),

each aiding and abetting the other, knowingly made a false statement and representation to S. A.,

a person licensed under the provisions of Chapter 44 of Title 18, United States Code, with

respect to information required by the provisions of Chapter 44 of Title 18, United States Code,

to be kept in the records of Action Pawn #10, in that Defendant EDUARDO RODRIGUEZ did

execute a United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms Form

4473, Firearms Transaction Record, to the effect that he was the actual purchaser of a firearm,

whereas in truth and in fact,   he   was not, in violation of Title 18, United States Code, Sections

924(a)(1)(A) and 2.




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                                         COUNT FIVE
                                 [18 U.S.C. § 924(a)(1)(A) and 21

       That on or about the
                              28th day   of January, 2012, within the Western District of Texas, the

Defendants,

                  JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),
                                                  AND

                                  EDUARDO RODRIGUEZ, (2),
                                                                     and representation to D. S.,
each aiding and abetting the other, knowingly made a false statement
                                                             of Title   18, United States Code, with
a person licensed under the provisions of Chapter 44
                                                                   Title 8, United States Code.
respect to information required by the provisions of Chapter 44 of

to be kept in the records   of Nagel's Gun     Shop, in that Defendant EDUARDO RODRIGUEZ

                                                             Alcohol, Tobacco and Firearms
did execute a United States Department of Justice, Bureau of
                                                           he was the actual purchaser of a
Form 4473, Firearms Transaction Record, to the effect that

firearm, whereas in truth and in fact, he was not, in violation
                                                                of Title 18, United States Code,

Sections 924(a)( I )(A) and 2.


                                            COUNT SIX
                                   [18 U.S.C. §924(a)(1)(A) and 2J

                                                                    Western District of Texas,
        That on or about the 18th day of November, 2011, within the

the Defendants,

                    JiMMY TORRES aka JIMMY TORRES-HOYOS, (1),




                                                                      and representation to
 each aiding and abetting the other, knowingly made a false statement




                                                     4
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S. A., a person licensed under the provisions   of Chapter 44 of Title 18, United States Code, with

respect to information required by the provisions of Chapter 44    of Title 18, United   States Code,

to be kept in the records of Action Pawn #10, in that                                    did execute

a United States Department    of Justice, Bureau of Alcohol, Tobacco and Firearms Form 4473,
Firearms Transaction Record, to the effect that she was the actual purchaser of a firearm,

whereas in truth and in fact, she was not, in violation of Title 18, United States Code, Sections

924(a)(1 )(A) and 2.

                                       COUNT SEVEN
                                [18 U.S.C. §924(a)(1)(A) and 2)

       That on or about the 18th day of November, 2011, within the Western District of Texas,

the Defendants,

                       JIMMY TORRES aka JiMMY TORRES-HOYOS, (1),




each aiding and abetting the other, knowingly made a false statement and representation to

S. A., a person licensed under the provisions   of Chapter 44 of Title 18, United States Code, with

respect to information required by the provisions of Chapter 44 of Title 18, United States Code,

to be kept in the records of Action Pawn #10, in that                                    did execute

a United States Department    of Justice, Bureau of Alcohol, Tobacco and Firearms        Form 4473,

Firearms Transaction Record, to the effect that she was the actual purchaser of a firearm.

whereas in truth and in fact, she was not, in violation of Title 18, United States Code, Sections

924(a)( I )(A) and 2.




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                                        COUNT EIGHT
                                 [IS U.S.C. §924(a)(I)(A) and 21

       That on or about the   3l' of December, 2011, within the Western District of Texas, the
Defendants,

                   JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),

                                      EDDIE RAMOS, (4),




each aiding and abetting the other, knowingly made a false statement and representation to

E. D., a person licensed under the provisions   of Chapter 44 of Title 18, United States Code, with

respect to information required by the provisions of Chapter 44 of Title 18, United Stales Code,

to be kept in the records of Action Pawn #10, in that

         did execute a United States Department of Justice, Bureau of Alcohol, Tobacco and

Firearms Form 4473, Firearms Transaction Record, to the effect that she was the actual

purchaser of a firearm, whereas in truth and in fact, she was not, in violation of Title 18, United

States Code, Sections 924(a)( I )(A) and 2.

                                          COUNT NINE
                                  118 U.S.C. §924(a)(1)(A) and 21

       That on or about the 3l of December, 2011, within the Western District of Texas, the

Defendants,

                   JIMMY TORRES aka JIMMY TORRES-HOYOS, (I),
                                       EDDIE RAMOS, (4),




                                                  6
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each aiding and abetting the other, knowingly made a false statement and representation to

E. D., a person licensed under the provisions   of Chapter 44 of Title 18, United States Code, with

respect to information required by the provisions of Chapter 44 of Title 18, United States Code,

to be kept in the records    of Action Pawn #10, in      that

         did execute a United States Department        of Justice, Bureau of Alcohol, Tobacco and

Firearms Form 4473, Firearms Transaction Record, to the effect that she was the actual

purchaser of a firearm, whereas in truth and in fact, she was not,   in   violation of Title IS, United

States Code, Sections 924(a)( I )(A) and 2.

                                          COUNT TEN
                                  118 U.S.C. §924(a)(1)(A) and 2J

       That on or about the 3rd of January, 2012, within the Western District of Texas, the

Defendants,

                   JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),
                                       EDDIE RAMOS, (4),




each aiding and abetting the other, knowingly made a false statement and representation to

R. R., a person licensed   under the provisions of Chapter 44 of Title 18, United States Code, with

respect to information required by the provisions of Chapter 44 of Title 18, United Stales Code,

to be kept in the records     of Action Pawn #11,      in that

         did execute a United States Department of Justice, Bureau           of Alcohol, Tobacco and

                                                   7
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Firearms Form 4473, Firearms Transaction Record, to the effect that she was the actual

purchaser of a firearm, whereas in truth and in fact, she was not, in violation of Title iS, United

States Code, Sections 924(a)(1)(A) and 2.

                                        COUNT ELEVEN
                                   18 U.S.C. §924(a)(1)(A) and 2J

       That on or about the 3rd of January, 2012, within the Western District of Texas, the

Defendants,

                   JIMMY TORRES aka JIMMY TORRES-HOYOS, (I),
                                       EDDIE RAMOS, (4),




each aiding and abetting the other, knowingly made a false statement and representation to

M. G., a person licensed under the provisions of Chapter 44 of Title IS, United States Code, with

respect to information required by the provisions of Chapter 44     of Title   18, United States Code,


to be kept in the records   of Action Pawn #6,   in that

did execute a United States Department of Justice, Bureau      of Alcohol, Tobacco       and Firearms

Form 4473, Firearms Transaction Record, to the effect that she was the actual purchaser of a

firearm, whereas in truth and in fact, she was not, in violation of Title IS, United States Code,

Sections 924(a)(l)(A) and 2.

                                        COUNT TWELVE
                                  [18 U.S.C. §924(a)(l)(A) and 2)

        That on or about the 23rd of January, 2012, within the Western District of Texas, the

Defendants,



                                                    8
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                  JIMMY TORRES aka JIMMY TOIUtES-HOYOS, (1),
                                        EDDIE RAMOS, (4),




each aiding and abetting the other, knowingly made a false statement and representation to

S. B., a person licensed under the provisions   of Chapter 44 of Title 18, United States Code, with
                                                                                    States Code,
respect to information required by the provisions of Chapter 44 of Title 18, United

to be kept in the records   of Texas Guns,   in that

                                                                              and Firearms
did execute a United States Department of Justice, Bureau of Alcohol, Tobacco
                                                                             purchaser of a
Form 4473, Firearms Transaction Record, to the effect that he was the actual
                                                                             United States Code,
firearm, whereas in truth and in fact, he was not, in violation of Title 18,

Sections 924(a)(l)(A) and 2.

                                         COUNT THIRTEEN
                                  118   U.S.C. §924(a)(1)(A) and 2)

        That on or about the 23 of January, 2012, within the Western District of Texas,
                                                                                        the


Defendants,

                    JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),
                                         EDDIE RAMOS, (4),




 each aiding and abetting the other, knowingly made a false statement and representation to

 S. B., a person licensed under the provisions of Chapter 44 of Title 18, United
                                                                                 States Code, with

 respect to information required by the provisions of Chapter 44 of Title 18, United States Code,

 to be kept in the records of Texas Guns, in that

                                                       9
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                                                                      Tobacco and Firearms
did execute a United States Department of Justice, Bureau of Alcohol,
                                                                      actual purchaser of a
Form 4473, Firearms Transaction Record, to the effect that he was the

firearm, whereas in      truth   and   in fact, he was not, in violation   of Title   18,   United States Code,

Sections 924(a)(1 )(A) and 2.

                                             COUNT FOURTEEN
                                        [18 U.S.C. §924(a)(1)(A) and 2)

        That on or about the
                             30th
                                  of December, 2011, within the Western District of Texas, the

Defendants,

                       JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),
                                              EDDIE RAMOS, (4),




each aiding and abetting the other, knowingly made a false statement and representation to
                                                                                                 with
A.   R., a   person licensed under the provisions of Chapter 44 of Title 18, United States Code,
                                                                                    States Code,
respect to information required by the provisions of Chapter 44 of Title 18, United
                                                                                                            did
to be kept in the records of Action Pawn # 1], in that

execute a United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms
                                                                                       Form


4473, Firearms Transaction Record, to the effecithat she was the actual purchaser of a
                                                                                       firearm,

whereas in truth and in fact, she was not, in violation of Title 18, United States Code, Sections

 924(a)(l)(A) and 2.

                                               COUNT FIFTEEN
                                         118 U.S.C. §924(a)(1)(A) and 2J

             That on or about the 28" of January, 2012, within the Western District of Texas, the

 Defendants,
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                   JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),

                                     EDDIE RAMOS, (4),




each aiding and abetting the other, knowingly made a false statement arid representation to

D. H., a person licensed under the provisions of Chapter 44   of Title 18, United States Code, with

respect to information required by the provisions of Chapter 44 of Title 18, United States Code,

to be kept in the records   of Nagel's Gun Shop,    in that                                    did

execute a United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms Form

4473, Firearms Transaction Record, to the effect that he was the actual purchaser of a firearm,

whereas in truth and in fact, he was not, in violation of Title 18, United States Code, Sections

924(a)(1 )(A) and 2.


                                       COUNT SIXTEEN
                                  18 U.S.C. §924(a)(1)(A) and 2]

       That on or about the 28hI of January, 2012, within the Western District of Texas, the

Defendants,

                   JIMMY .TORRES aka JIMMY TORRES-HOYOS, (1),
                                      EDDIE RAMOS, (4),




each aiding and abetting the other, knowingly made a false statement and representation to
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L. B., a person licensed under the provisions      of Chapter 44 of Title   18, United States Code, with

respect to information required by the provisions of Chapter 44 of Title 18, United States Code,

to be kept in the records   of Don's Gun     Shop? in that                                   did execute

a United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms Form 4473,

Firearms Transaction Record, to the effect that he was the actual purchaser        of a firearm, whereas

in truth and in fact, he was not, in violation of Title 18, United States Code, Sections

924(a)(1)(A) and 2.


                                         COUNT SEVENTEEN
                                      18 U.S.C. §924(a)(I)(A) and 2)

       That on or about the    51h
                                     of January, 2012, within the Western District of Texas, the

Defendants,

                   JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),
                                          EDDIE RAMOS, (4),




each aiding and abetting the other, knowingly made a false statement and representation to

L. B., a person licensed under the provisions      of Chapter 44 of Title   18, United States Code, with

respect to information required by the provisions of Chapter 44 of Title 18, United States Code,

to be kept in the records of Nagels' Gun Shop, in that

              lid execute a United States Department of Justice, Bureau of Alcohol, Tobacco and

Firearms Form 4473, Firearms Transaction Record, to the effect that she was the actual

purchaser of a firearm, whereas in truth and in fact, she was not, in violation of Title 18, United

States Code, Sections 924(a)(l)(A) and 2.

                                                     12
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                                         COUNT EIGHTEEN
                                    (18 U.S.C. §924(a)(1)(A) and 21

       That on or about the
                              5Ih
                                    of January,   2012, within the Western District of Texas, the

Defendants,

                   JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),
                                          EDDIE RAMOS, (4),




each aiding and abetting the other, knowingly made a false statement and representation to

L. B., a person licensed under the provisions       of Chapter 44 of Title   18, United States Code, with

respect to information required by the provisions of Chapter 44 of Title 18, United States Code,

to be kept in the records     of Nagel's Gun Shop, in that

              lid execute a United States Department        of Justice, Bureau of Alcohol, Tobacco arid

Firearms   Form   4473, Firearms Transaction Record, to the effect that she was the actual

purchaser of a firearm, whereas in truth and in fact, she was not, in violation of Title 18, United

States Code, Sections 924(a)(l)(A) and 2.


                                          COUNT NINETEEN
                                     (18 U.S.C. §924(a)(1)(A) and 21

       That on or about the
                            19th
                                 of December, 2011, within the Western District of Texas, the
Defendants,

                   JIMMY TORRES aka JIMMY TORRES-HOYOS, (I),
                               RAMON ERNESTO ARMIJO, (11),

                                      MATHEW ARTEAGA, (12),


                                                       13
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                                                 AND

                                   DESTINY DELAFUENTE, (13),
                                                                         representation to
each aiding and abetting the other, knowingly made a false statement and
                                                                                       Code, with
A. A., a person licensed under the provisions of Chapter 44 of Title 18, United States
                                                                         18, United States Code,
respect to information required by the provisions of Chapter 44 of Title
                                                                                   did
to be kept in the records of Action Pawn #10, in that Defendant DESTINY DELAFUENTE
                                                                                       Form
execute a United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms

4473, Firearms Transaction Record, to the effect that she was the actual purchaser
                                                                                   of a firearm,

                                                                            States Code, Sections
whereas in truth and in fact, she was not, in violation of Title 18, United

924(a)(l)(A) and 2.

                                          COUNT TWENTY
                                    [18 U.S.C. §924(a)(1)(A) and 2)

          That on or about the   21' of December, 2011, within the Western District of Texas,   the


Defendants,

                      JiMMY TORRES aka JIMMY TORRES-HOYOS, (1),
                                  RAMON ERNESTO ARMIJO, (11),

                                      MATHEW ARTEAGA, (12),

                                                  AND

                                     DESTINY DELAFUENTE (13)

 each aiding and abetting the other, knowingly made a false statement and representation to

 J.   0., a person licensed under the provisions of Chapter 44 of Title   18, United States Code, with


 respect to information required by the provisions of Chapter 44 of Title 8, United States
                                                                               1           Code,

                                                                                    did
 to be kept in the records of Action Pawn #11, in that Defendant DESTINY DELAFUENTE
                                                                                        Form
 execute a United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms
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        Firearms Transaction Record, to the effect that she was the actual purchaser of a
                                                                                          firearm,
4473,

                                                                                         Sections
whereas in truth and in fact, she was not, in violation of Title 18, United States Code,

924(a)(1)(A) and 2.


                                         COUNT TWENTY-ONE
                                       [18 U.S.C. §924(a)(1)(A) and 2J

         That on or about the 29" of December, 2011, within the Western District of Texas, the

Defendants,

                     JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),

                                 RAMON ERNESTO ARMIJO, (11),




                                                                                        to
each aiding and abetting the other, knowingly made a false statement and representation

J.   0., a person licensed under the provisions of Chapter 44 of Title     18, United States Code, with


respect to information required by the provisions of Chapter 44 of Title 18, United States
                                                                                           Code,

                             of Action Pawn #11, in that                                             did
to be kept in the records
                                                                                       Form
execute a United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms

4473,    Firearms Transaction Record, to the effect that she was the actual purchaser of a firearm,

 whereas in truth and in fact, she was not, in violation of Title 18, United States Code, Sections

 924(a)(1)(A) and 2.


                                          COUNT TWENTY-TWO
                                        (18 U.S.C. §924(a)(1)(A) and 21

          That on or about the
                                 4th
                                       of January, 2012, within the Western District of Texas, the

 Defendants,

                      JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),
                                                       '5
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each aiding and abetting the other, knowingly made a false statement and representation to

A. A., a person licensed under the provisions   of Chapter 44 of Title   18, United States Code, with


respect to information required by the provisions of Chapter 44 of Title 18, United States Code,

to be kept in the records   of Action Pawn #10, in that                                           did

execute a United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms Form

4473, Firearms Transaction Record, to the effect that she was the actual purchaser of a firearm,

whereas in truth and in fact, she was not, in violation of Title 18, United States Code, Sections

924(a)( I )(A) and 2.


                                  COUNT TWENTY-THREE
                                 [18 U.S.C. §924(a)(!)(A) and 2J

        That on or about the 21 of December, 2011, within the Western District of Texas, the

Defendants,

                        JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),
                               RAMON ERNESTO ARMIJO, (11),

                                    ROBERT ALCARAZ, (IS)

                                                AND

                                      LISA CAMPOS, (16),

each aiding and abetting the other, knowingly made a false statement and representation to

A. R., a person licensed under the provisions of Chapter 44    of Title IS, United States Code, with

respect to information required by the provisions of Chapter 44 of Title I 8, United States Code,

to be kept in the records, of Action Pawn #11, in that Defendant L!SA CAMPOS did execute a

                                                   16
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United States Department      of Justice, Bureau of Alcohol, Tobacco and Firearms Form 4473,

Firearms Transaction Record, to the effect that she was the actual purchaser of a firearm,

whereas in truth and in fact, she was not, in violation of Title 18, United States Code, Sections

924(a)(1)(A) and 2.


                                      COUNT TWENTY-FOUR
                                     118 U.S.C. §924(a)(1)(A) and 2

       That on or about the
                              29th
                                     of December, 2011, within the Western District of Texas,   the

Defendants,

                   JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),

                               RAMON ERNESTO ARMIJO, (11),

                                      ROBERT ALCARAZ, (15),

                                                  AND

                                         LISA CAMPOS, (16),

each aiding and abetting the other, knowingly made a false statement and representation to

E. D., a person licensed under the provisions     of Chapter 44 of Title   18, United States Code, with

respect to information required by the provisions of Chapter 44 of Title 18, United States Code,

to be kept in the records   of Action Pawn #10,    in that Defendant LISA CAMPOS did execute a

United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms Form 4473,

Firearms Transaction Record, to the effect that she was the acthal purchaser of a firearm,

whereas in truth and in fact, she was not, in violation of Title 18, United States Code, Sections

924(a)(I)(A) and 2.


                                       COUNT TWENTY-FIVE
                                     (18 U.S.C. §924(a)(1)(A)   and   2J

                             29th
        That on or about the      of December, 2011, within the Western District of Texas, the
                                                    17
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Defendants,

                  JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),
                               RAMON ERNESTO ARMIJO, (11),

                                   ROBERT ALCARAZ, (15),

                                                      AND

                                             LISA CAMPOS, (16),

each aiding and abetting the       others   knowingly made a false statement and representation to

E. D., a person licensed under the provisions of Chapter 44         of Title 18, United States Code, with

respect to information required by the provisions of Chapter 44 of Title 18,
                                                                             United States Code,

to be kept in the records   of Action Pawn        #10, in that Defendant LISA CAMPOS did execute a

                                                                and Firearms Form 4473,
United States Department of Justice, Bureau of Alcohol, Tobacco

Firearms Transaction Record, to the effect that she was the actual purchaser
                                                                             of a firearm,

                                                                     United States Code, Sections
whereas in truth and in fact, she was not, in violation of Title 18,

 924(a)(t)(A) and 2.

                                      COUNT TWENTY-SIX
                                  [18 U.S.C. §924(a)(I)(A) and 2J
                             4t) of January, 2012, within the Western District of Texas, the
        That on or about the

 Defendants,

                       JIMMY TORRES aka JIMMY TORRES-I-IOYOS, (1),
                                RAMON ERNESTO ARMIJO, (11),

                                            ROBERT ALCARAZ, (15),
                                                       AND

                                              LISA CAMPOS,      (16),




                                                         Is
     Case 5:12-cr-00359-OLG Document 98 Filed 06/20/12 Page 19 of 24




                                                                     and representation to
each aiding and abetting the other, knowingly made a false statement

R. V., a person licensed   under the provisions of Chapter 44 of Title 18, United States Code, with

respect to information required by the provisions of Chapter 44
                                                                of Title 18, United States Code,

to be kept in the records of Nagel's Gun Shop, in that Defendant
                                                                 LISA CAMPOS did execute a

                                                                and Firearms Form 4473,
United States Department of Justice, Bureau of Alcohol, Tobacco
                                                                   purchaser of a firearm,
Firearms Transaction Record, to the effect that she was the actual
                                                                     United States Code, Sections
whereas in truth and in fact, she was not, in violation of Title 18,

924(a)( I )(A) and 2.


                                       COUNT TWENTY-SEVEN
                                      18 U.S.C. §924(a)(I)(A) and 2

        That on or about the
                               17th   of January, 2012, within the Western District of Texas, the

Defendants,

                        JiMMY TORRES aka JIMMY TORRES-IIOYOS, (I),




                                                                      and representation to
 each aiding and abetting the other, knowingly made a false statement
                                                                      18, United States Code, with
 A. A., a person licensed under the provisions of Chapter 44 of Title
                                                                              United States Code,
 respect to information required by the provisions of Chapter 44 of Title 18,

 to be kept in the records   of Action Pawn #10, in that
                                                                       Tobacco and Firearms
 did execute a United States Department of Justice, Bureau of Alcohol,
                                                                        actual purchaser of a
 Form 4473, Firearms Transaction Record, to the effect that she was the

 firearm, whereas in truth and in fact, she was not,       fri   violation of Title 18, United States Code,

 Sections 924(a)(l)(A) and 2.



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                                      COUNT TWENTY-EiGHT
                                     [18 U.S.C. §924(a)(1)(A) and 2J
                              17th
       That on or about the          of January, 2012, within the Western District of Texas, the

Defendants,

                  JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),




each aiding and abetting the other, knowingly made a false statement and representation to

A. A., a person 1icensed under the provisions     of Chapter 44 of Title   18, United States Code, with


respect to information required by the provisions of Chapter 44 of Title 18, United States Code,

to be kept in the records   of Action Pawn #10,      in that

did execute a United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms

Form 4473, Firearms Transaction Record, to the effect that she was the actual purchaser of a

firearm, whereas in truth and in fact, she was not, in violation       of Title IS, United States Code,

Sections 924(a)(1 )(A) and 2.


                                        COUNT TWENTY-NINE
                                      18 U.S.C. §924(a)(i)(A) and 21
                              30th
       That on or about the           of December, 2011, within the Western District of Texas, the

Defendants,

                   JIMMYTORRES aka J1MI'i1Y TORRES-HOYOS, (1),




each aiding and abetting the other, knowingly made a false statement and representation to




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L. B., a person licensed under the provisions      of Chapter 44 of Title   18, United States Code, with


respect to information required by the provisions of Chapter 44       of Title 18, United States Code,

to be kept in the records   of Don's Gun Shop, in that
                                                                                       Form
execute a United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms

4473, Firearms Transaction Record, to the effect that he was the actual purchaser of a firearm,

whereas in truth and in fact, he was not, in violation of Title 18, United States Code, Sections

924(a)( I )(A) and 2.


                                             COUNT THIRTY
                                       18 U.S.C. §924(a)(1)(A) and 2J

        That on or about the
                                16th
                                       of January, 2012, within the Western District of Texas, the

Defendants,

                    JIMMY TORRES ak JIMMY TORRES-HOYOS, (1),




                                                                                        to
each aiding and abetting the other, knowingly made a false statement and representation
                                                                                       Code, with
T. S., a person licensed under the provisions of Chapter 44 of Title 18, United States

 respect to information required by the provisions o Chapter 44 of Title 18, United States Code,

 to be kept in the records of Nagel's Gun Shop, in that

 did execute a United States Department of Justice, Bureau of AlcohoJ, Tobacco and Firearms

 Form 4473, Firearms Transaction Record, to the effect that he was the actual purchaser of
                                                                                           a

                                                                                            Code,
 firearm, whereas in truth and in fact, he was not, in violation of Title 18, United States

 Sections 924(a)( I )(A) and 2.




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                                           COUNT THIRTY-ONE
                                       118 U.S.C. §924(a)(1)(A) and 2)

       That on or about the 28th of December, 2011, within the Western District of Texas, the

Defendants,

                   JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),




each aiding and abetting the other, knowingly made a false statement and representation to

R. R., a person licensed under the provisions of Chapter 44        of Title 18, United States Code, with

respect to information required by the provisions of Chapter 44          of Title   18, United States Code,


to be kept in the records of Action Pawn #11, in that

did execute a United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms

Form 4473, Firearms Transaction Record, to the effect that she was the actual purchaser of a

firearm, whereas in truth and in fact, she was not, in violation of Title 18, United States Code,

Sections 924(a)( I )(A) and 2.


                                          COUNT THIRTY-TWO
                                                         and 2)
                                       118 U.S.C. §924(a)(1)(A)

        That on or about the
                                 5th
                                       of January, 2012, within the Western District of Texas, the

Defendants,

                    JIMMY TORRES aka JIMMY TORRES-HOYOS, (1),




each aiding and abetting the other, knowingly made a false statement and representation to




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S. B., a person licensed under the provisions of Chapter 44         of Title   18, United States Code, with

respect to information required by the provisions of Chapter 44 of Title 18, United States Code,

to be kept in the records of Texas Guns, in that                                                did execute

a United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms Form 4473,

Firearms Transaction Record, to the effect that he was the actual purchaser of a firearm, whereas

in truth and in fact, he was not, in violation           of Title    18, United States Code, Sections

924(a)(l)(A) and 2.


                                      COUNT THrnTY-THREE
                                    (18 U.S.C. §924(a)(1)(A) and 2J

       That on or about the
                              5th
                                    of January, 2012, within the Western District of Texas, the

Defendants,

                      JIMMY TORRES aka JIMMY TORRES-HOVOS, (1),




each aiding and abetting the other, knowingly made a false statement and representation to

S. B., a person licensed under the provisions of Chapter 44 of Title 18, United States Code, with

respect to information required by the provisions of Chapter 44 of Title 18, United States Code,

to be kept in the records of Texas Guns, in that                                                 lid execute


a United States Department of Justice, Bureau of Alcohol, Tobacco and Firearms Form 4473,

Firearms Transaction Record, to the effect that he was the actual purchaser of a firearm, whereas

in truth and in fact, he was not, in violation of TitJe 18, United States Code, Sections




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924(a)(l)(A) and 2.



                                          A TRUE BILL.


                                          FOREPERSON O'THE GRAND JURY


       ROBERT PITMAN
       U1'ITD STATES ATTORNEY



                  J.   RICHARDSON
                 United States Attorney




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